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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

GHASSAN SHAHIN and
JAROSLAVA SHAHIN,

        Plaintiffs,

v.                                                           Case No. 8:17-cv-1969-T-27TBM

WELLS FARGO FINANCIAL
NATIONAL BANK,

      Defendant.
___________________________________/

                                           ORDER

        BEFORE THE COURT is Plaintiffs’ Notice of Voluntary Dismissal Without Prejudice

(Dkt. 4). Upon consideration, this case is DISMISSED without prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(i). All pending motions, if any, are denied as moot. The Clerk is

directed to CLOSE the file.

        DONE AND ORDERED this 29th day of September, 2017.



                                            /s/ James D. Whittemore
                                            JAMES D. WHITTEMORE
                                            United States District Judge
Copies to: Counsel of record
